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                                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 10 Pcs Cloud Rainbow Foil Balloons Smile Smiley Cartoon White Cloud Aluminum Mylar Helium Party Balloons Decorations for Birthday Wedding Baby Shower Holiday Hawaiian Tropical Party Decor Supplies : Toys & Games

   URL
   https://www.amazon.com/Balloons-Aluminum-Decorations-Birthday-Hawaiian/dp/B0BWDNM2WD/ref=sr_1_182

   Collection Date
   Tue, 09 May 2023 10:43:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d6mqbpAr9AF1s3MuKz5XfLVeRVk/9zJ1L+e5jh05XXQFkeOvaku8AqYopX5Plf/31mz4VlNs5lb89WsH059uuvOKvSdAU/LgXl3lDI+6iC1BqX44qMQ7nuzjDL/yjW6KcCEUsHp2OWuc3vOL7f/ejCkX5Em+wZeCcLm8u48zBMU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Balloons-Aluminum-Decorations-Birthday-Hawaiian[fs]dp[fs]B0BWDNM2WD[fs]ref=sr_1_182]]_Tue,-09-May-2023-10-43-17-GMT.pdf

   Hash (SHA256)
   53a42e7d2d64f60a4c45431c5554a076526fea73235f9382564b47299ae81047

   Signature (PKCS#1v1.5)
br8irt97f1qqU81FGdwxrN7HtlJ1OvtF7BzLmRbPnt4QZO7Q6FqzPmmxNv+pjLKFCTePkrcNma6Hrk3snxLu3jp4wxAk+w+mEsdLPKl/a8OKEWd0kTWdG6PvlvORq/yGF4p3PjEDaGGcXxa7GbRDPx4vQn1GwVojiBpO3hJY2nw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 2 of 44



                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 01:18:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X5d1xWI4KC0Ce4xvQR02WuCqSIC+kTmLlTTCQscBZQ4070UZsLGQPwuDpH2CkWkC9o94nOi05oUKiGzf5UME9XkjKYrFJVV0nBM3N76t8MLhatysFXvjzvd47gLbry7JaZ+upvRceGwEK/G+3lym36R7+0QWy/
   KXf7RduGAm3l5NJjQJfO5WhIYwzTw4G2Q5B9XSEFDhEHBngDVMAPzlJgVSo1i73sX8gL1QzkuEf8QBLu9eJVBU+G/x5RyRPmH82twmdslh/63PJdIJDMHC0SqP/Ug2SXDjEuX5cjLcwVC4KxXkZu8aXeF/HvPezSyRU1wbE6+2H6mOhLv5e0mzKw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-01-18-19-GMT.mhtml

   Hash (SHA256)
   2705fbad164842f5c79054378fc38d50662961db89b83878ebcf14517cfaa2bc

   Signature (PKCS#1v1.5)
jETbqEf6om4hoWX/YwGdijpD00CRyGRXGBZDKDmeXPyGuthleQaB5srjxvHbstsNNpnrABjPHgpZC7zWv6c8Iem7VaWPc/lrYYYXkoIFpZkZr/n6QfhorqLN3KZ88YTQYOvddZ6ppK/kh8BbGYQBIQPxak98wTKruRgvgpMrMGnKsPxpSVOO/UcMGUxrSH/
FnWdR9ee43dWJNhwMGbMqDHp7J6+0PoIdK7JXW0R/+4rTzRAxLwvMN9UYU8okiKzr5PlnhfYucWNXpGheAiam7JMhrTXKbbSCRAZ3gCGe0MFXWi3ZL5QhT385VK/fHCv6D6TgUfZwS8yrp3AbCzLLCQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 3 of 44



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: EYHLKM Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/EYHLKM-Breathable-Combed-Cotton-Striped/dp/B0BWGXT6LG/ref=sr_1_5

   Collection Date
   Fri, 21 Apr 2023 09:51:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OdwjZxfszc95hQqg6Q16CqUU2pvvznCJb9w74BzUFFIk82CMFMArd3u1SSeCq5F1OJfdUi+07uRVi37gfUxqIZKeW8qnasUXX2/1AYF4B0zmQPfJnji9vva7ycfxb1D89jnGX0gGc84kK0J6yb7fBjexI9aNuHYjuVyCFChoc/0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]EYHLKM-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BWGXT6LG[fs]ref=sr_1_5]]_Fri,-21-Apr-2023-09-51-57-GMT.pdf

   Hash (SHA256)
   6b5ec022f044bb05ec2939d54cb2b091917d6579455b0cd92a9ecf37f09ed9c0

   Signature (PKCS#1v1.5)
QyCOagi99cCEGCmtWcZlh/sJisZ3E2XZO7eE3uN/frniCdOa9fXAnndwnNQNia/7RpgMqLSapioB35cWtQm/AURC7BiqPbo0/EM8TQDzzlPwnXtVV7kcjbyC4ULnQMirvl9wz+RQWIZEoTeWBZH6LnkOLYgwkkYT0pR14q+AzUk=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 4 of 44



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 02:03:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bRQnQGpfaY7rgZL2tqBcM+rvgxP15l7NCy33udhloZS+GzFBSTKGC/Hc+MllSa+B5VwvnQUqkM9YK+2YGqKA6sQ1UJC/PxEg0wC8MLEGKX+VeZjZ2keDVPsfyRRCXwbYv2LcT/Q7SPwb3/l+cGuazSZ2piLGMD0hfcCGgiV//z7wnLepeOxQ0yEBCPY2uXfFs/0DgKwkC6v
   +83EaWUU7ub5nf6jtCRDl/FUOzPC8cztU5mX2enL8Q/+CiGMi3IjMvVi4Lq21ozGG3YZ9Qm5tXGlao7i9sZpkcvYgtaouX8ZaVP+LuzuXX3jFphpVLvFL8w7xgB/AyahDEuYkQHVFjQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-02-03-16-GMT.mhtml

   Hash (SHA256)
   6f7b33c1d0ec5e59a54be0c3b7053e2e870e697e757326829a6bdf34b600cdbc

   Signature (PKCS#1v1.5)
m9C4fLFy1FnruqcbWzQKG/PytZAIVDgOlx/kKLMQCTDnUonucOTmfVw1QQC2i7wb1O4lXW9AX9tGgPxoeMVrN1sjr4TBgRHv2ocJKWXv2n4rE4AUcgB/p7n4E/amv8FRkbNLp5R27GgGq+TZU1adCgu7T4wm/tZpCbbj35NhieE6cbi3hc7lpdLVRimCMKOEKBWytUSC/z1+9z/mT18lP6YE1zHskS/
gd8yCsLzMmvv0CczwQyRtG/MxMJ46YnDUoQ5/u+7gb14N/DoOyTFfVTocfNQmNTFIZ71T2+M+5vtPu92yYIPdbkiFjKg85fQ6yTIcdHhE/1sYn286EsiqrA==
                                                                                  Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 5 of 44



                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: NIYAKA Smiley Face Sheets Twin - Colorful Bed Sheets Set Bedroom Decor - Cute Bedding Sheets and Pillowcases - Soft, Deep Pocket, Wrinkle Free - Fitted, Flat Sheet, 1 Pillow Case : Home & Kitchen

   URL
   https://www.amazon.com/NIYAKA-Smiley-Face-Sheets-Twin/dp/B0BRW9T2LC/ref=sr_1_243

   Collection Date
   Tue, 09 May 2023 09:50:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U3G0g96jO51cwvtU2Q8jHv5J9PNSO9r4LooDdXXYOlxXlgURi15S1DZ6lva3sFYvMEXaqJKw7Ipoxr4VnNTWqteNG5n51qJEaK+JB314HoDVgVvgo5ZpaE6gGceeTbFjy+/DY65T6N+2p9tyQej8fTi3u3Fv+GjG2f51eQH6r+c=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NIYAKA-Smiley-Face-Sheets-Twin[fs]dp[fs]B0BRW9T2LC[fs]ref=sr_1_243]]_Tue,-09-May-2023-09-50-00-GMT.pdf

   Hash (SHA256)
   dfe329127c91056ba333dc8cfe3f1d37f6dc2bb2dcc90d4178cc55e338deea41

   Signature (PKCS#1v1.5)
U3iqWPU9lnSE8vl8DR2n5wEjb4aJGHwn/8YWk7jAFvkilxyztLIRPFTguVHMf8RVDEw55eP5A3WFoqCUdWEtXAFEEsYTX9lP0dTfXB1GmtFBcfS3wPLiSp4vvyL1yESful6L4XJ74stehGnE5R2k/fAj9KSof0fzlOZvtuJW4QM=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 6 of 44



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 06:37:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SfA1/YIV04fiteSKkUv8G8zNNRH7px20SwjB3ypAohLRMbQM2lxBf+p3YrPS24i/hsmQqyT+5G283VYlpl8qzHWDIGNM9MxPEAnY3mDrRQfOtetwclDNF9nAT3QTYbQm38ADC9Qhb0VMB9zNyFzb3SEFfc04Bny0ZjhYCsvR/6TVBgq6+7D3CW/
   g6y6EcPWpRJDkOUh5HxafUNCFJyGA4OJoyS4QHHlxl9ToQH9bbuBKrJDkwXYxoNHYryHjZ2lkYusCi/zQhg5XnACI2V23tXjlwHkQPMnSAzxIQb2ScnWjHYnaNVdCL0OPXsEBL8IgBr0XleTdm4p0o/tkYxwMxw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-06-37-29-GMT.mhtml

   Hash (SHA256)
   58022e3e17db10317e1b954f9353fb881b041375350f925bfe1ec748db76f23e

   Signature (PKCS#1v1.5)
C0d/+88eHGYgpBJdUVlJshVSZq5GaMkMZfMcOCK0FNiMTeuUv04oj6yYm31JLInxgJmfKh5rQiYIAIByzLVCLX3/nKE7Q5U3a3ZVFZkfO2VILeMyRzk6oESMsJAXK/GnbJtQoXsVGEuX518P7hKfKkDZv5RuabqiwAae6pIVw30YMRTFFBInf5OSnv4TZ1VB7WCHKFouhgPkch
+azn0P322MNGK7ha0D0TV2L0sz1kB4Pux4X2/bFvdHRh+lr8UV0H1wkdd5h+ymS8bpWylv/PevLL3LHr+kpniC3STFsRUabiqzP+miodJ246F2/sHV8efmEQ3ZalYU9x8/P7RYBw==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 7 of 44



                                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Duregal Chenille Smiley Face Pattern Bag, Waterproof PU Leather Snacks Makeup Bag, Small Zipper Pouches Purse, Travel Makeup Bag for Women Girls (2PCS) : Beauty & Personal Care

   URL
   https://www.amazon.com/Chenille-Pattern-Waterproof-Leather-Pouches/dp/B0BCDY685T/ref=sr_1_142

   Collection Date
   Thu, 20 Apr 2023 11:41:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hK/eSRNoNq1O6iRE4+nuBBd7FPPUYIX60BdT/EcJRc3lUb8qurrPM7ai/B1AXmAldTg9fJP9BKVdsLucuRob8yuZJzTYqktC5XXialw/u4Z6z2Zy1/vlw6OASbMdOcVFrF4VTZC4SqYA6bpu1ta4qyJOOdzE8fUMna64sdKHtFI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Chenille-Pattern-Waterproof-Leather-Pouches[fs]dp[fs]B0BCDY685T[fs]ref=sr_1_142]]_Thu,-20-Apr-2023-11-41-39-GMT.pdf

   Hash (SHA256)
   949667461e607582dc208512895cc6c02e5e45bdd052432b1e2356fbd765e3a0

   Signature (PKCS#1v1.5)
mxdwUroib1B776yy4t5yADyJqmhfWXoQ0Z6VU7BNLLw2eaC7zPJk1mIKKwAU0NZPS+Zd39B07We7dU5Yga1jq9mk9/5WrbBI2GdTW0QDxkzfAlvQd3sJ1IQffVHay3wwq+B7cLP34xZwlb4Y37j7KExVZ8J+FJGuJe2DbyPJzu8=
                                                                                  Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 8 of 44



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 23:59:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jvBbn5umxYOKmkouRRbHqM7UT5/LS3jw4CNPZqRYfNX1lE+//XVIgbJyzbnyry1uVcne2D8PezdKoO9Qvn0ZgCAmRDz9+YbcyFBCnRXJuBMkqhLyq8Ck7RqdNneNDRAfSUuI9Mq0WWgghKCt+bN5kYXsftlj+N27u8cSr95WSSzxj3JxN+
   +HafJxNiNJqne9ClENebYfu4wUpoNyPXpGfHhHMYVdMngP/smQFu/Jl+nSU/egtkzZfo+MVR29XviHY80T24n3Qvg0Q3e2B6RR2UdgkNKiPlV3MxDPJWIIxcJ0sh/x5oMKGGONllU9GkuKgftBpjcabh1KCClmzvp1SA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-23-59-14-GMT.mhtml

   Hash (SHA256)
   0c46eb99f68cbdc6f96f38a718061996e5aab770dce3f4018dee795fcf49f2bb

   Signature (PKCS#1v1.5)
NWzb1J4k4/2KBsq9DLmWuOOjZlha72oId7ylfSW7USscJu8i706ukNzGoVS7rVdhmC2kCDDFby4M5af6ba/K23bZCgWSMN/oYwanoYtD9U7x0N1m176ebvAItpNFpDojcTthSs9NSdYlZcWrSbKAwOfoDjDGNurl1glJSsSnpCHfttAU8Y4235P8RVFw5s7ZH4FOq1JUhs4S2YqhdnUugD49Z4Uk/
Mw8gUZBb6Xyqv9UywFEr38abge1Arf7dxEs2lsPjLGOs4lx+B5fESIZ+13LMlOpf8DKcDpW84YgNRHWdOm56vq3DExqVbfA3qHZV4ElARSGYpLwPdDfoDPhVw==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 9 of 44



                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Cosmetic Bags For Women-Smiley Face Makeup Bag for women,Cute Travel Make up Bag For Girl, Corduroy Makeup Organizer Bag Large Capacity Zipper Cosmetic Pouch : Beauty & Personal Care

   URL
   https://www.amazon.com/Cosmetic-Women-Smiley-Corduroy-Organizer-Capacity/dp/B0BWJ23HXZ/ref=sr_1_106

   Collection Date
   Fri, 21 Apr 2023 07:22:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HNZ8vAqZzT51zfyvr9lARjadjKMVODJBM6vwuvE3HsSfBTOIEyZ6l6yn1wcFr3Hyv+nCPzsvdaLsID2sliCAa8z/ipQh7ptoP2DTaQiMgfdg0iKHt7Ul7c+ENJioSc3bbF6rVBYKZ4Y2eiXzvD7lsUCZfdM+eCHbZfV33GERf6E=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cosmetic-Women-Smiley-Corduroy-Organizer-Capacity[fs]dp[fs]B0BWJ23HXZ[fs]ref=sr_1_106]]_Fri,-21-Apr-2023-07-22-11-GMT.pdf

   Hash (SHA256)
   a81755c64f21bb1b2d8669c2e00b2f5ed484e2120d261165309d8db8ec0fb445

   Signature (PKCS#1v1.5)
Q9/NcaPScrLoq6GNgBpaMZcYOsIU03hW3b18jkej5IEcQ9wNhPa8ZdX19IN3fWVhvb9Z/tH6MA0h1GVpoSUAy7Drwc6UdI9kezVn3gbwguesk+N6pnPhdlYlXvjOJe72KrR9Gk0P0a8KTCKvPc0opWyJlcD0XjO/v2k9pBOu0zI=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 10 of 44



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 02:33:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.111.184

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eb7XqMIzctvBtz0mRpCSd+Nk9U5Rgtx8w2asxUbvU+5OeJPwvN2/M45T3rBncF1BCEPEqbjR4rRNYjy0Zzgc4HJQZqBTXrC9y0SKm89X6751jLHrPdmhp6DDD8Xg0tLG+9l7mqVm6rivg5xlDzHfkdoHc2FwiDaQZIfj2xHOZeCDK+0nlFSCq0Ny4T5uWMaFf8X/SNvTRA+8jmbcxVwExD
   +/7t6Oj3K9ssNRm1EkfWD1rqbhmfJg4Q4DW5WXp8JpjY8m0rITsCayELkwnL0WNbOFtKtMUeowjok0Agym3rCOXuqA8SG4CpBTaZlR5KL4AnowmyxmnXD7mN/g13n2JQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-02-33-46-GMT.mhtml

   Hash (SHA256)
   2aff19547d94ee9b37bf88010ba7240cc01d6e2e11233e9948d9c5ae62a20d8a

   Signature (PKCS#1v1.5)
QB6Et/E+UkSEHLwskIL4ktiMLFiFql2t9oE0BSb5YjfUtNz7aWr8RoBBedGVOo1GAXZgvWecgNxQj+uC2jjHWjU6GraYVdF64dnBz/rx/kaayv+NjMUy2av4ZX/
uLHvvlYp3Q4jH7se7Y57fSh3Aliaausz7a5h2LP07vOPX89Lr6JZdDcoCOoWdxebe4FdJc9BY54+XiMxnd670M56BNZBr1kvW49DQ0rA2/8vIZ9B9HiJmelQMuAyuXuB67upJpu6N4g8zBZnOMSHNfvRAx1059MQxE2JOz/QAnT8OnUrwJwjva/K+7ZCmAMMFmUfcGcoFN/dLUpW4zlHp7RvfjA==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 11 of 44



                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LUOBU Smiley Face Necklaces, SMILE English letters Gold Stainless Steel Paperclip Chain Simple Round Smile Necklace Preppy Jewelry for Women : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklaces-English-Stainless-Paperclip-Necklace/dp/B09P116YJW/ref=sr_1_172

   Collection Date
   Mon, 24 Apr 2023 06:06:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TRf+52dIR5mnH4h9b8c337IlkB4GC0U5s2knlbuJmGUhyMCNSco2U9CKpn0Uobxbo74akahPNYZmkQZgWuKtrprycUFGZWaaYBVN8ZX/7oQ4Q2FLfrpGrVenoCDj/gbJ4g4lMvx+SyvFW+somLBqVtejsLh60fe18YJX12ctwpw=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklaces-English-Stainless-Paperclip-Necklace[fs]dp[fs]B09P116YJW[fs]ref=sr_1_172]]_Mon,-24-Apr-2023-06-06-56-GMT.pdf

   Hash (SHA256)
   dbbcb8d704bad3ff33c0d5d0c845b13b20d30713c99bc30196abaa1e7a27c591

   Signature (PKCS#1v1.5)
qbEmmmvNyDAuFOheAbeMHqqkSmFnnuti33DSes2FCtYjKLx+3umdCAsDrbTMOFf+LMwy7LhNX3IiUDPjoioE2nKmEWSFPt6iDazTR661CWdb9HiKQAOyATn5aeznoF6f8q/tiTsyPtKWcABoMfkTEb+PGpH8SilUoddM8X33a0Q=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 12 of 44



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 05:44:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nAQsGHQSb0ojRlo3Lh/gvNiaSvZXVyzejmz5rSltPH+3hR03mcjNuhXJVZ9jYb9HFiuATrhA+Fng61QQ3Rpra6ZIY0l5iFqXYao3XrE4NV7RQGaYC8vWrL/Ov4xSJ/0/FiVmvixzUQT0cq1f8pTPPzRLs/Iy30616HXzgmu971odUKtWHpMqebh9avF2pPE3lP3+s0G3Rcs9Kxz3QSLPmPtwbi
   +P84gvF0HWtneFJC+b0HoQO+7XjBKynp6tl6c4BOXRjYBAt0HV4vuTH/g5LPdr3lX+nJRwOwnj0MfNK3IIUF9nVNW250vV9lyF9s/Hk3YualDGxvSe5GxP/3eGCA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-05-44-24-GMT.mhtml

   Hash (SHA256)
   f205a16c218ccef9df4c5aa7eb6b44825b6051ac274424ef272c659f717c8053

   Signature (PKCS#1v1.5)
Cshnvk95HElesqks/ovVWhxX9maem5ODwUA19xZNcjyHxyOYiM5FImpS0g9VrLpMNH+oTwoK39VHJgstAM68el0HTszRmHuvYtojmLawVvFlH1+cllYvk1PtTE+OkMJbB3A6DRrez0uKyL5D21Q4J3JxCE6xTLz5uL5J9tlJMjBhWCkTr+8BS/
w1AOCi1JYY1qJsFYPxduL2PRa8KvkpqUge4Uu5vEgtVMvMxhi6jjh2KkYg0HedyB21j4R3k99EWHIxx51Bhp2R76vNR9mn7iNJt/3F2FOxPsf8SEUgJVvrZ+86R0QEbBBTQHovxi+MJIgBpGUf4aIo+ntGqtXv3A==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 13 of 44



                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: GZLXS 6 Pairs Lovely Smile Face Cotton Socks, Smiley Face Socks Womens, Cute Smiling Face Socks, Knit Socks for All Seasons, in Six Styles to Choose From.(6 pairs) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/GZLXS-Lovely-Cotton-Smiling-Seasons/dp/B0BD3X2HPK/ref=sr_1_71

   Collection Date
   Wed, 19 Apr 2023 09:59:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qq+bdpRWmzQJ6BLhX6ptLKuPp2/GZt5f6nPe+/+eO45pHQ8QXf2AT7ctiNUYlGj+DpJXrv3uw73GTIKlFvVI9Cyaa9GyQmTQEWfgud+z2Hb+TgcP9D9Cu8qQwGWzf7DdrT1sBSl5xPCHdz1OcM2zkTjtf7GljslMP5WsEgLEaMI=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]GZLXS-Lovely-Cotton-Smiling-Seasons[fs]dp[fs]B0BD3X2HPK[fs]ref=sr_1_71]]_Wed,-19-Apr-2023-09-59-53-GMT.pdf

   Hash (SHA256)
   cfbfcd4b9f23b243760b7ba5e039dbb2c79ee6bc238a6b63ba1f3602281a27b1

   Signature (PKCS#1v1.5)
sj++dzEl+t1bKb6+D2SUifKbjvdF2JnQslpPq/nb0D6s5LRnGeNvAtxgvwOQyIXmueQGWBp77rOitchlQW/f6pqeV1i4KIXnP+qaD8qcUlgfbvrBbCUc+HDEyTefDBNpBNm0W2rSbzp6hSFz++f2HW5v0g9zniz7GxfoYeMLD9w=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 14 of 44



                                                                                                                                                                                                                    Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 07:53:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   chJgqrZMUhuRbd0wiftfqvHzusBT6KHiXkqvqg4ISowEpWpDyECo5B+1WYkkuacLnpheKrZi8yRjaDNYX1gKioMlzJFV//bpdnUilSbZ+0kw5OltTQIgProi/zlWSO/F5zY+XGAPiK6TAeOhFNNapznlNluBoBud5wc6K1wCj3swNfaXZcaE42tkj++N5F7HafbZd2rKsU6zzzerWu
   +vT2xDkejK9ZeSKlPGkZRmO34gE/ZIzHLqs/UqMpBkRNoD3X7MwLU3s9u8QJQnV/OjBgy4uCDi+6IRoA4gPG6RnehoQKAts1ZqvGFWLlMgbqiOr7ToH7WSq43NUlOWXHtkCw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-07-53-01-GMT.mhtml

   Hash (SHA256)
   33cb33a71d23e4899290f77906c87662098b82c23f94bf8828d82f87b4efc947

   Signature (PKCS#1v1.5)
ZIE1SXSmbC4odJMQfwtzUC/YII3trCi2E3FKaIl8gMRymVICayqVMf9r4o2n6e2qnCx7Qo/qQG9r46TnK47WCc9CSjN75B3ppu6N7yec5mMQrHDak2YItNSxAGTlmheugAPh/l0RJewFD5W2q6rbpGauCg0HH51YJbO6dS/lO+6FgXpy9500GluUTyfgilOX5Tzdsxg/
S5Rboh0ReArJlTy7VRLO1z0qY5SCRzZjdQVD92MgYeTrhoeCLzYMoMXxy+mH9lc1WG//hCbr3K1+ZLZh01ZaiF52WJjbWDMhb8dAL6mYo0FA/0GwdF/hJsuzsr/zUy5X8SnI3SR4ALOWdg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 15 of 44



                                                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Cute Round Smiley Face Dangle Small Hoop Earrings for Women Teen Girls 925 Sterling Silver Charms Drop Huggie Hoops Cartilage Cuff Clip Hypoallergenic Happy Friendly Jewelry Gifts (Gold): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earrings-Sterling-Cartilage-Hypoallergenic-Friendly/dp/B09T93S6XC/ref=sr_1_84

   Collection Date
   Wed, 19 Apr 2023 11:54:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JzgunMqmXv/y+w3p+EAYciF0xH1nE04VjzNXdX1VO358LJOF2eCH77BqXtQX+DQnylX/Bc9vbofciQr80p2Ta/EigCbIRaTSmqnpTOCZa35GxV+toGctX1ZD4UrnGvqGOz1iWuYwmTvig3SMxXmYGKL1dTY4PfZ5+/GvQGyp1jM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earrings-Sterling-Cartilage-Hypoallergenic-Friendly[fs]dp[fs]B09T93S6XC[fs]ref=sr_1_84]]_Wed,-19-Apr-2023-11-54-54-GMT.pdf

   Hash (SHA256)
   af54e38055ccc391c62cc98a386598cf229c2305e561fa9d0f20ac865e771cd0

   Signature (PKCS#1v1.5)
rxDLB31lZyNRxz+CMHOqj3AshpRydNFjoIcKU37wXrP/lxuV789C5MPctK5EPrC41EbgRAcB13KHiRcAXeh68ECQslAwFm9OGHkL3Abv6dgipi/8QC56JTxvM/MAO0zAbiSEui+qPbX8PbD/Tk9ZDuAaiQaW4/FduBDt5NZUYaY=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 16 of 44



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 07:10:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QNNgUWczt71LfXlGjFO28eEArNUNLRfNBSsJZSursJcGL94HKck2/8ivJVOlCfP1MN0PuqXwxxESVO8eMyoco63BnLKSZiyRB54Y8r6r2HIZdQbR4iEJr9fkH+jAsMqjJ8M7h97HtBiF4qhTo3K/
   ZaN2xphSP9zAoJOme0eRS03ZN2hXaJ639tGMDPWNYKC/7t1kiHLAXtbJB9zO3p3A8gkCiojBrGuWF+gGDTSHIiH8t1TDvF0nNmUdsFF9QOpTxuOaQA85nQgzV2j5NYRbiuIcGV+TCwIG3jnaOikOeNLwUKdTEuIXJvbscli5SXiwEN82nfCFpqs6/z+2yCPF3w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-07-10-24-GMT.mhtml

   Hash (SHA256)
   9c77d3aec4d3a3bde2c4ac923089b0a6a127edd9c7995a7d8fd73a82288da1de

   Signature (PKCS#1v1.5)
Csrr43Lh1x1g/qVsCWJjfC0ff8b7nXndf8CmSu0bxKG+C9tJ5jPcr+PfK8aQY7maySon7TELU1Rf541L5z5tEvYwCOgkeOb5EF1ZnXQJuz1mK4LpT05gHWov7dxAJ2MNOGl8AoEVN7VS6USXHPh3HUo8BtGrNPam0SkpvQD+XcBV3LNweVE+pk/
H1BNkMS19r1ZjSDD7FKr6ucVU8IkPfseSJJWYAeJ4EUk4bpVQmvxKoLNOcZVpCklOugSHZq/n5peOp+21ELmVEe0JX6BqOXBlju9uHa394TBNqy08kOCE19FTYnEN2xVVhFWnXqpgLTYs/fwAjbo1wNz1C3qoDA==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 17 of 44



                                                                                                                                                                                                             Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 04 May 2023 11:32:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qTmM/+UgYCPPhAxnvQqD3sxzfmq5KN8QN6NGCL7Z7hwr/xPsX0lwgR073rJSoD5/iWZaFmN+Wkxzmcz8VFZsSMBVcWhd4dsuEusw8V6hqaNFwErR8iS8k8rXyT5hNiRxvxlCl/fbw4L9Z7J8NgHkjUgVUNjwb56sgdCUDZlQtpjjC83Kct6Ss
   +zZQLq4SHj/7xkUTwYAXP64xXHpRUKbEYLi7AMsOe6zOfdGYS9Z5+35UXAq1HkuUUObYy5K/qp+fQdFKa5CcoRtw1nDVyjatek/WOtZrXwPXlXRrEHGYWKXkAIIlBxlCD961qZNueAiCRitdRkBJc0+LEa60tirBw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-04-May-2023-11-32-58-GMT.mhtml

   Hash (SHA256)
   3e023e9323244bbaabedc66756e8cb08e90a0a5751cae03782e2a782d8fc26d1

   Signature (PKCS#1v1.5)
ab1yRO3QAuNPIwNvGugzobDBkowcT+UyKEQX8KZHJj+HCnp0jsrWR2eFES7lX91MkItea0/0a6aOyXGd5P34lyQFEqf4hV0t405Wkv4H9MozMDqjTywbcyEQ+Swmbqzlb8H1Z1uLdutedgtk4X7VWomk33GjAblKl5awxdBmPRFAlFHDH9H5nCApHuBPZD85uj6m1xTjkry5VoqwgHkpvWyENlfEY/
mCKKNuB5eJRk832dDQCo5PTf6TWTCeOoW1jkHJ171PlsEdpDg3czomLW5OaS8buQCmcLZQsMdtTK5Y4tyfHGVNMxixDbd3leZYscp3saLYF2w+XrDYVQrn/Q==
                                                                              Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 18 of 44



                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com : LYDZTION Smiley Face Makeup Bag Cosmetic Bag for Women,Large Capacity Canvas Makeup Bags Travel Toiletry Bag Accessories Organizer : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0B6H2NTXG

   Collection Date
   Fri, 05 May 2023 10:16:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dLInSilQMPfUNsa2Mzx27Q9B0fFmBxY9wexyGP5aYo5PCo9rCjc+wNXBbxRGb4FmxYQj4GD6tgdBGazl06/y6D0ji3NgaUY7/k58B8R8ApKY26LTln4po/LrGc6PnIKA4aEA0q0p7y4rsLUOaLj+UkvNPQBZzvZcv/+2qH/
   Yrs4EeF2eGx7NFyt9F41eqMhnrLDvgpGS1xOOXhD9lA8e3INA3cIlMJFpSdJPFfizmB6IBKIkUoHt17LHsa0V1qzyRbEbhzSgkP5ItpKDaSxde3LtOzLP8nHdXZgnOTkY99iIGFN3+ErKqtBgaOSYG1KO6iy42RaMxKo7p9odK8p5Kw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B6H2NTXG]]_Fri,-05-May-2023-10-16-10-GMT.mhtml

   Hash (SHA256)
   9cbab77c53c195cf21bb3905a46dc42c26b54963c2a17ce02d1021eb25a70851

   Signature (PKCS#1v1.5)
ftVDP1LabmO16oRzSaEj/AEgfgK5N0RorVxMei3cL30Hci1JV5kP7fGJ6deVnuanc5dHSfd3T24iOhocRuw/W3mEeNSzt1+OTR4DsANTkO22KGtS5e3TWrREHAuGWUxW6QLjQH+vS1cU2YLmapZhkwvh579K
+0NKu1wfTdPLANZsvvkj1NPNbklqPhvP0aY6LPQgIoR02NRCAw8Hmv5tYLJIsqTkBQOt15E7/l5jvBkW4YYzI8FcRPQRFJY3MPOhi5TLstcwOjN49zbK0QL0HM07p7EqOAHuBs/apMqlzIJn8YUAw9fO+L68FcZYOi52KoJjObsVE0J6MlhFbSzLVw==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 19 of 44



                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Womens Casual Socks Smiley face Socks Print Low Cut Boat Socks Women Cotton Tab Back Hosiery Socks for Women (Color : Cartoon Cow 5 Pairs) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Womens-Casual-Smiley-Cotton-Hosiery/dp/B0BPMVP6BX/ref=sr_1_250

   Collection Date
   Fri, 21 Apr 2023 09:30:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aj+E2vmxLeORduHK2BYgQJghWBFVjFi7/bb5wyXjuMsQgKoF1GBdB8pWZG3OchbjC9K0AeOm5KdgSnNntdxUUQNugitYqPBSjfoyTU9VamscIBVBo3ijOpk23rdzrO8+1xUqnTW4HhV3fhrwOcOgIh68+5NYME89G45HTm53CYU=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Womens-Casual-Smiley-Cotton-Hosiery[fs]dp[fs]B0BPMVP6BX[fs]ref=sr_1_250]]_Fri,-21-Apr-2023-09-30-46-GMT.pdf

   Hash (SHA256)
   821273d3c22dc30036b686f4bac16655c6ec90d6ca28a74c4819f58bb609238e

   Signature (PKCS#1v1.5)
eNjQiV2Hrw9YFDPthhAo5nW7ZD2+3FwIx/VfKk9mQQc3G307dn8RTkLAcd++u9OCFt6KhPZEnoqgXmfhnIPuChfne6kZpN2AdHiJtqBMC9WuuUcYL6leT5mCJ/z9oESDjLtHv4BZb9Kd8sB3YdKL5QxXdTDtiLFjVSCYbise4SY=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 20 of 44



                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 22:36:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hQ/ds+/roiOjLYPju7F+0ZtlVl1vGaQv3NtkohgcrrbyZj92mi/oF9wMch1mGfSgqzr6ryttlDc5C8F5gFQ6vCD18SgIzY897bMJis1r8qoJMfYZqqYAIXTo6YTdgZxDmfZw74BKdC6ELG9ipKTCeyYal
   +awFcE9xpn7UDy2OEprBmbGFlBV6sligWu9sJcy6TcXytdX2sZ59WLgfKFfAj8ctrmcOCnemhN3x7mcIcSTVYC2blXo7Y/HMY13uLna8uYaELULtzqEokRzuyZtgZEfTDTY/5Ef5ctQT2JnATLre7t+cup+t+Ly6pC7RmWIDCrFY6O0X1/5lvp85XRTFg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-22-36-52-GMT.mhtml

   Hash (SHA256)
   4c891387e679f372907e066baff9cd069f41078eeee38d8e2804a24926da14a3

   Signature (PKCS#1v1.5)
lTekI9DjwaxedxS+PBg8K7/hntIRRCxkCcOKEyZHE1dqyPJKswD7JVXnK1WkqPz/rNM662hwwTw5ddAmboHURFCxBAnuO6juLOwRoHMwvucG6Jgfs+iuqWmYD9MQ7/LeiDuCiORj7p62BQSR9vvEYVrR4TyZpy5ibB9bN2MW1ZEWaUueg/rF/JiKRRN
+BfBCBUO4rESsEk8dkT8XYMYNfKYT1ROCv4Wk86wukqPrF8haiaEcPvS/o6O1/C36iRXb7TnBoHlvY746C3/V9EHwjqStLzmivi5ZfyzbfI1E7jkJXsbKpvqhUX98SNc79R9MvNLoiE3q7udCsHyChdJ3CQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 21 of 44



                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: LYroo Makeup Bag Smiley Face Cosmetic Bag Cute Makeup Organizer Bag Corduroy Make Up Bags for Women Girls Aesthetic Toiletry Makeup Bags : Beauty & Personal Care

   URL
   https://www.amazon.com/LYroo-Cosmetic-Organizer-Corduroy-Aesthetic/dp/B0BMX2PY5G/ref=sr_1_68

   Collection Date
   Tue, 09 May 2023 05:27:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GVqwlLkZq1D4dTcoUmBqJ2xU9TPgS7uCfJuDh4oH651zCKJBrJ+EcF7/XVOaZxk7FI8xw5ChQwNfMsBAHl5SORccN4iTwIL4HyNaKHwFQAT25DFzDMXDjbENVGrJXJDTjeYl8ahIuFXWKK8AAPgoKFGaavzIyIwK9tnvBGASddo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LYroo-Cosmetic-Organizer-Corduroy-Aesthetic[fs]dp[fs]B0BMX2PY5G[fs]ref=sr_1_68]]_Tue,-09-May-2023-05-27-47-GMT.pdf

   Hash (SHA256)
   411378c026daa83f3cde7d5744366dfb4011109c0fa14909161663275f09ddb6

   Signature (PKCS#1v1.5)
AYh9Jiy3/Df9lbhwKBE1LnFQNQBCwuviCLl/B33wvTa4HaXyUVbQtx7nasAIsTRRJOLDFAhRv8hcQRodGPc8UlrZhP3aetQVXo+5QQn4slbikga8jWasSR2HiDqojGrrYEsXIUX0A4YbVfAW15fTczyG2Yd/Q3tsvhtiArl0ny8=
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 22 of 44



                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 09:43:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GJ4H0KPDyAqXmtFq8eTs40Zn8sYYkkE9grZvMhp0OkaiWz4MV/uWt+ksMvKMHDNVNDLB63pVFoVRV/yFv1UV4n4CUiIwU3eIJs6NtFhdIvJrWDZAjVAJsa6IWzEOVxWwAwGFFhNSOgQ
   +bStBBBvbxgnFSbDdOkPOoGPXEi8rbG7W5ErSsHBIPfEmk1kC7vKiEkpN6blsElyGQcrDROxtEXT4UheiHNpmAXeLLoWOLAsjLYMHW02vFh6rL1e96Lh4oeCGiu9RSZC/Iii8tg0k5TpTJQYU7TFSik4HHf9sv8bPq/tJIq4ZZraYpQQoFJaBR6U9YJ/LAObpE9gENAV3rw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-09-43-11-GMT.mhtml

   Hash (SHA256)
   8bcb8b124ecbed08b6c4eacb3205ae3fd80717a458ce9af1afe64a322e32977e

   Signature (PKCS#1v1.5)
nfoLzdmfszl1bBTJiLkv2me5esWE9Qce+4snGxV6xDyo6X+Rr68QnrwbltyTOE03ri0cKFuSn8FH/EjBNV1sX7CglBfWdm9LKaQXIOSctOkG5JMEN/hsGFxoQwkQS+VAQ0l1d+/gxN+XSGcOXyd
+o/8GENuIlozo6RfmdIUIIZgvKUtEP8Xnt9YfSiTHtG0L4Ssio0BQ2iEXHP3wm4OahEeRkw9C3ngf3Bnow4z2f+kejbFD5yu0CZZ1jjH0bxqSgackJ+cwXEmU5HW4v3aTpmQSoNC9BkHAj0p8kXTaldq1oMy8oM/5BzfGnmw1ahrmGJoiyU/it9Ub6n42kiwV6A==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 23 of 44



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Fireman Fire Engine Fire Truck Firefighter Rescue Bus Car Cartoon Children Kid Patch Clothes Bag T-Shirt Jeans Biker Badge Applique Iron on/Sew On Patch

   URL
   https://www.amazon.com/dp/B07NP5XX4C

   Collection Date
   Fri, 02 Jun 2023 04:06:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZNV3n5sueleyzUH8+RodHcMZ+uMfhC6aIeJBn3cYt/fv3NJhBC5O8xFhBj7Mv3gE9sCbjQ4c8K5mZV+/pHOGQtcc717AdnsQRrDKbrpsPVkLV21deobxh33odyxHlfO4fYR8Fso5Cw8kOf80S4FSJ3DlzqhavYZq4M/59ROGCEKPWikYKY/
   iodswh7ee0ShkIwI3wD1LxaLxrnries6UlLUibMbQxqFfX4aV2Xwv2G7RvIBdWn6n8N+8Nc0fU2mY8RTcyDAb+AeAFeEk4brMx6G3IwvIxaRcE/eWuLdXGMZM0Wd+jzAYdbe+2rr4nY6r/i9VcOGbny+vdbhwO8ecTQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07NP5XX4C]]_Fri,-02-Jun-2023-04-06-28-GMT.mhtml

   Hash (SHA256)
   3cca5dff30920a7ce8295bd230f6beb80b94f6c64426514feb0ca61f151e5846

   Signature (PKCS#1v1.5)
UVzkG61QpdgZEomwIad8X+hpdIUTJMtnSvfpcDd3D/zGKX08+ONL+6xbB1fS93MZAU0zt61sf6+/tas2YUeV7dlvjNsrthTZiCXOTNfmflZyGYjeY1eHWnPAt8FyVsdSJWMgrVjFW+1w+WWWNIZXk5YIGSweMOyxwcJLk7HRmOtFaRg1EMk+PlvIAoCzNctO2MaunsaJ6Lr
+7aM3ONWe0ybHMlm8VHAoui5/7xDy7Qbkk0z+nmrHXAWJT/Oh0Hgi2XrvOzGpmQkCoWDJZ9HFJM2nKJc4xV3Zi6yTtFxnKMAJ9yitqW/ATCniCRmdr2nhzJyZqh5UvmfUbHoZnC4gLw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 24 of 44



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 04:10:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mOSdm3ZWrgdyGGBfgQfa5X3yG0YKU4sW0SkEQP1XRSb0TYoc+HL1Dtm/Zs2rLS0ZrzktVgkc+0pz2m1T7kpgmm5FfwEaqen8KQodZwN3xu+adpgVn9PxiZYhQdAUtF1AUOyyRnOo20wBSxivGOyR+hyuZ6vFRCYoMb9Klycj9St/ZkhK5DVJLO10yMiYoV7L2Gy4Nvs1C7I
   +WWbKRSVHBPt7U5tAKA72HPvp+lvBMptJT9JQumTJGJMIWTmSEMXBawcEUZv0BIoFTvil9zbnItUSbWxC97GCT4rbK+dZAQGOI0zjz4UhLgbkHNlBpS2SptL8nmCIOEbd7ggBWHHMeA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-04-10-02-GMT.mhtml

   Hash (SHA256)
   bbede02601109d7afd9d06c7a79cd0791b708c45351a050300dc3f04bc2b8b1b

   Signature (PKCS#1v1.5)
Mcifu6+dHX9e5Nlzl6ZRktmu3E/tK2CYRcc1XoYXKBksSNHpxyKsT7P/ckL38/volpSbf6/bSN2vnolIipU1936hTvAzva+bxCeAc7f/I1vggC2Ajm9WIYNrwD9zHCjznSwDUJzGwbuut8rTERp97nFXQJ6Te9o/MRoUM47suPa7eKB/iS6J8M41vX2+kGdnRMA0LRXuFQdDUjVsal3SPnC/p6qji8pIQwu
+fINkuUQy5IOqPBiZlkpg6qHDXLgmHgAY3cZozwDhC+KwAqDkuVCI4cJfytdMmUtWPxOReX01yktYSHWVW29RVE6UcV1x8n7KrHBX44IpEnvNFjccMQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 25 of 44



                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | DakinFu Women's Men's Cute Bolt Lightning Evil Eyes Slippers Fuzzy Happy Smiley Face Slippers House Shoes Lightning-Pink-41-42 | Shoes

   URL
   https://www.amazon.com/DakinFu-Womens-Lightning-Slippers-Lightning-Pink-41-42/dp/B0BJQS2BCB/ref=sr_1_165_sspa

   Collection Date
   Wed, 26 Apr 2023 05:18:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MsS0Seu8lc5knwOB4p2WUzHeA0hMmT5VNLLdAQNUd5ZzmlHYTdkpG0V2zjEKJtcdw8n6nKwHX+tUX0Rc8z/s/2k5yGfU/uMsewhfBOmNOw0PIo2Mkkj4UGmm+Z3jV2XWCXTKx4V2a8m1laplSpyGuZaAR6gForMjorBlwd0RD60=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DakinFu-Womens-Lightning-Slippers-Lightning-Pink-41-42[fs]dp[fs]B0BJQS2BCB[fs]ref=sr_1_165_sspa]]_Wed,-26-Apr-2023-05-18-19-GMT.pdf

   Hash (SHA256)
   85ef5d580be1ec1ab6918f81a1784d8ececdcd675b6c75bcd4156bc6e60d386e

   Signature (PKCS#1v1.5)
hBPYaz/jHZI2s5JOXF5JIU8M4uSwQZefrH5jC1qsXLi1MsrhuWMmbojVTv4i2eA0DEgXI8Bh45LhQwDrDPV24J3mTM9Z7gdaZ75KOmgaE7uTw/KbsjzlyFbt1gT5Mtaxjq5LE1cffd7kGMYdshYhzi+y59gEQusD0PWGHqbo+VA=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 26 of 44



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 16:39:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qAgE1S4T9rr8o7oCcRuRflTBN4gSRIcPEK5ZPyMyLDmXUPE5nP5ziKPSS9sdSvrh/2OgZXGBQ4agokqzoRfkj9f2bX2ypRmsFqlMFtXMlhUefrdOrVKxBeYmHq5DJ8JDy9VBlxNZXnuWG7W4EbSBKYx1NhfjpY1Im5lwMujOcdmqDteiTo2j3f3cjA5e19mcaDbH/qoMfPH96IX0WcK8RFLes1I/
   f31EwzVA3m45RO8VzTSg1TO60AY4Sk3XB8KL9f396XUyPT3SarVWcs/yUBS+2VKKz/eFvW5eKTwsuDbZVzubvhy11Hd7KJfZNZPv7nWFpqApasvy8Mr5+9GZqw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-16-39-14-GMT.mhtml

   Hash (SHA256)
   80a5f0d4197503093982bb3fa5d5c33ac6a2b7b90184c3be62a755987aa931f3

   Signature (PKCS#1v1.5)
JvCqWtBbFNtfGHhElzE0b2cQEGmSBEvgYeTSMlS65xVxDfYz4g3LvzCldxeO8tIhwa8pq1BROuTqxC2sojsAcGNJSaen9m9ea4IMxyzDeVuBeMQUnX/CmcaA8yD4tY4xrK57dNCiWHhjGV8JxRCGqFv6f9w5PvQzhrGvFXoTJPpNxeP3/yn+/lfhZr1s
+BJKa1RoPDqxqavD9Jl9Me3IyHtjrWaQFjk0EH9yb12inQgYKB0x2zgABAdDQ13yynoiBvC+0HBZYskDIgQmtM+0j3WEse+HgKIaAmz5IjRTZBEXaeqLdkVDWJe1TAFa3KgU+IhmiASlstLvjZpIq7KPDQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 27 of 44



                                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Smiley Face Lanyards for ID Badges and Keys, Pink ID Badge Holder with Silicone Beaded Lanyard, Lanyard Keychain for Women, Teacher, Preppy, Office Name Tag Badge Holder ID Card Holder, Key Lanyard : Office Products

   URL
   https://www.amazon.com/Lanyards-Silicone-Lanyard-Keychain-Teacher/dp/B0C1N2LZJ2/ref=sr_1_24

   Collection Date
   Wed, 26 Apr 2023 08:13:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TF+/jDJ8xWGdHkh+cgg2L38Q+HHdMbHojcdx6fVm3bSIQCG5muGoIGEzmxrIyz3uJTmTrENe33qIHIDoYa9D1mP44ERo20UIijtDtS5DhrJXSC8ZNOHmu+dlGArYlgwGXE0/cGZTSHqS0fTKsCZzuDUdw382lBQgNmZ8Uz0tl9k=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lanyards-Silicone-Lanyard-Keychain-Teacher[fs]dp[fs]B0C1N2LZJ2[fs]ref=sr_1_24]]_Wed,-26-Apr-2023-08-13-57-GMT.pdf

   Hash (SHA256)
   35a19627c05df7e173ec4681951feaa229a62a1319516d0f0f0abb9809d84a5e

   Signature (PKCS#1v1.5)
euY2+oEQKf6MQTaIUCDsnoR9naZjSZ3i6SDtHMpWU7Kh4Kui0Nwnv9p5z9EXucHmr32Qz2Kru8PI/5pea1HghLBJYxgwf+yf48ZTfPwsDZTaAjArlg9DoSFV4xiaq4X1b1grPlS+0bdcrQqD8U3Qn4kqEb27GY21ohKu4TeM0UI=
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 28 of 44



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 08:43:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   huNjgRzYqhpiVZMCVn1n19h2rIe1jNzf/gh43K2AwCApHvjhUwewix0BsyMsGGdbJMv9TYBO7GCsf2WeQnihQL0aq5LnFzcFODPWZ+Nm2X1ijkDtlzvtgIYpbOiGYlbWRB0L85P4vfxhzYDdi+LkiEqus36Xb4d1SchItWLFA3HfzlBfcfgxxUoPSV
   +ZuTDIhyi5PaqnKzAW7jFfgYjginhKvacZwLjrUEu2J/gZD1ouXbHS6cHdFtsW2RuRsmPn43w7nC0aZPMwhKhHhVFyXqkfVef9QBwmsCBSRpfSk31z2gHLwki4OeRvTPM1jx51F3YhA1bXWEwyIVQllC1yIg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-08-43-58-GMT.mhtml

   Hash (SHA256)
   fc6c7f1244a0778d9d41cf6c115d4814c8e172c280bec4c96c129d46b177cf61

   Signature (PKCS#1v1.5)
C4v+TIcKpiq/SANqBSIDmGOyVKUyQVMorty4bTCnqo4JLBYpxEfPVs+SYawsY0hr0sEZV04qqjoO6YoDIBL0qXjfKJ/2oikvooX1OARfirooApCZO44WdfbLXcRD4tKDBn0DNK1ZPRIUMJVHB0/uaV5NfaIYYEi7+XhzgsifuUWyYqH4HUJrJM5fpGXDMoultkpJm6rv6nB/TqfM/FhIzvpMp
+s6CV07z92E5fDscnPL2yOw1lJn3h3PEFuIGXhXTOtB4FeqMhfMItj8mL+NVrQASyovOrZZJvV5AnR8IkD2EPeOMSwupb0GmxU1d7Ve60ctl/pQJlQv+PH7mryOHA==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 29 of 44



                                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Gold Happy Face Jewelry Bracelets Chain for Women, Preppy Bracelet Cute Funny Fashion Trendy Gold Plated Face Beaded Charms Chain Link for Teens Girls Friend Girlfriend Friendship Smile Happy Design : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Jewelry-Bracelets-Bracelet-Girlfriend-Friendship/dp/B09TW4JH1K/ref=sr_1_85

   Collection Date
   Wed, 19 Apr 2023 10:03:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HG0+rMXtd7GwwJieHrgiR2gIAsTKAZ9/XZtneOyqHFNz9Bax1IQQsb2ehVAYu8bZAyTQ4e06LMgRWlAXPjxekM7CtQLeuvdiRQAisOCyQOrzTie7RGfpMCj5u5GbDpm7saOgcV36YWK1IRZdOUBeHhM1lauASy4TXLMlGi5rnaY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Jewelry-Bracelets-Bracelet-Girlfriend-Friendship[fs]dp[fs]B09TW4JH1K[fs]ref=sr_1_85]]_Wed,-19-Apr-2023-10-03-42-GMT.pdf

   Hash (SHA256)
   abd9c28f20c3d4a169d970ea0522e90bde4ceb24be4d17c062c7a2686abaf348

   Signature (PKCS#1v1.5)
HPaSUtQdN3xgHDBQ33SyZAHHhXC/mHGKm/CLD40GhdnC4GRqP1sbmmwwNU23nOyvLvLgb6dn3W3apDp1GqEL7rMD2RuNoEhvgvJ/gUdTfiv3lIqd/QoGLRXSoDT9JDg6uHVrkgfupbPCX68+ijzfbwt4Lpt/I1wN5RYJ7Y9p0IY=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 30 of 44



                                                                                                                                                                                                           Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 08:02:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PEz23egBSU3L0etdva3KSL/mfdAiuQaY18LK5L7ZndbRMJ83yWHfedFBuVKHW5W7ROB0F+Fb8xSYcPtz/6dGl46yDWG+GMmv0cLwN0h6bxdBKMcxXeLs7e8lMgcxmM3VoHj5VdD1XhRKQqsqWAHP37KUX3won4EltTcHouHRbovzK4XPgFRJn+P6uQgTXLqlF
   +LORWyp0CKR92KQveXVj2tXsqainrcPuXoqH4wdUxfpgQs8ubmyL84trhD20pLmq8hAy1gsC7Y4B5Tvw5JR/F+0oD6XWRGrKup7PkpkoKVA2UiEX8dIp3SMyXwZp3EUSLlR6e1ZRzACWBa3cDEI+A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-08-02-50-GMT.mhtml

   Hash (SHA256)
   db589799f944058a601fc7e7f6c2e9270ebea663df3fd260bacd9b682739a89b

   Signature (PKCS#1v1.5)
mt//17aftdIQpP4ajn7MAb2aDJAtzfVgEN8ZmQrBgOBduiwDTvovZBG+XnK1j0iT3uBWXfZ1KlF64n7xVCPhZbAWadcwrDjZy5xt8oVLeTP1GMA5gWgNhR9fuu6WZs3BYvBNJBTOSVbIBViOHM74iHlIzB0CnFXjvNV0fOjqHJdyZvDYA5reQj0l/sIx0hI86wHvdMG/
iK1ugtsHhtEMPG5Z0eyjxmOJLeAJzJrMPT8PMHO6DtoSlA9Yc3uZ6LX8NGAGhYUkOZN8sagLHOPXX/fozHxE253NqgAU6eK5qwXnuaXW7O8htz+G8sa2G7LnKf+5Qy3iGDnFnH+v1Y1QWQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 31 of 44



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: KYDCO Blink 182 T-Shirt Smiley for Men Short Sleeve Top Tee Black : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/KYDCO-Blink-T-Shirt-Smiley-Sleeve/dp/B0BXWWGQNQ/ref=sr_1_124

   Collection Date
   Tue, 09 May 2023 07:29:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MbCF07t6tETGTzbiOY3Y2lVy26PMlxWAscxCA8zOO4eJcA7ZulDcZVs33iogknNCKw7FUMoC3QWJMYSIkIIlS9xnUkB4dhncW6GVMpET3GAfkNvioPiBhmIGOG/4SSfw4ahMaQ4kICTKouS1+XUB39xng76HNrMegOiJkne1NNo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]KYDCO-Blink-T-Shirt-Smiley-Sleeve[fs]dp[fs]B0BXWWGQNQ[fs]ref=sr_1_124]]_Tue,-09-May-2023-07-29-09-GMT.pdf

   Hash (SHA256)
   a95b3a594e4d2854dc22d524cb9358a4b4c19a7321ffcee5e306aee2b77462ea

   Signature (PKCS#1v1.5)
ePwZpBO7DmfQTrpUjCZckMAFTPGiQJNBEH+GfvSmVlyS6qxtnboHdfRefXNZXyNjiJtYAfUtu2kXNmvNSG+pVvAX3dCdfEEjb4PEQ331wI8PhUJjpKthd6tQrONPrkOEaSW1lFBS5KGcipmJyGkKuIJBdGpgDRBmbJXenzvS7Dg=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 32 of 44



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 01:53:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i8OPacjdK83WK4Um7V1OlhEjthxtYQvSS2qkCaZMCh8ObVnTZBg8pvIjK8zQfVAGOlkyhoeqeX8df9Iu1KStcBJHu3uViAsOcDWJIOH1gjHw+B/p4i6o
   +53eGvPIUFHew7fS1nTuYY3Tm7AaW6Eqj5ApEeUhd1Ul9f0KV7LL35Rg9AXseac/3rCPYI1jQIpVf9u0no1YZ0gi5avWYdnGjwmC6JQ0vhv8NXB8gLPtRlxYKXYrTH/nvK3IyMiV0ZZVCYcmxNpgE9DhaNIwyX3n7n/d8CyZDYo8Kuk9/sNhUro3UF9JjcgTOZcMPakrPXxUChA/
   RH2NzwX1Glww3t+TmA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-01-53-16-GMT.mhtml

   Hash (SHA256)
   8d1817d20a9379ed9d5aac8ab2e5713dc2d730cfd00a9dab6957b2b762f29d22

   Signature (PKCS#1v1.5)
bk/2aGT1ldUQ7bhB4moBHQnSXKjPvo44TFXrOPBXVQ0qLNjoizkqvCTGu2D1HUAv+GPdD00reZ4i/F5PVyGlws6mxjJZNtDXZug1XV+2wBj6HL4+o7LXiW9sB9eF2ACsnRBDPzCHUgj4HC78hfIQZApL3EEjgjNFuLx0T7VrE/
b1PEoMQhbLC4q13SJKkjogec0h5pwjGy4EsKBT6gOlbLtTBlXKoj6LzSK64F1xcF5yMgmTUvaQfw0bLPdM4hwO9gvPzFkDhmfID8/dAFdQ6H7Y1ngGssRptjkMfBdqwoLjAszwGzZ2QPUl0k1pVcUeK9GpYo+hzoJLq70RGHsilg==
                                                                                   Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 33 of 44



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Jesus Saves Shirt, Happy Face Jesus Shirt, Preppy Shirt Smiley Tee Gift For Teen Girls, Aesthetic Clothes Shirt Gift, Trendy Hoodie, Word On Back Sweatshirt : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Preppy-Smiley-Aesthetic-Clothes-Sweatshirt/dp/B0BNN9QMWQ/ref=sr_1_126

   Collection Date
   Wed, 26 Apr 2023 06:46:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ksIJqF4g64Lk1M3HWIaVt4Wn8XZA3ytlSZT+FG8iL6Nil7r3kdnTpvJEScPdA3Og2wYQHNnmRNWiilJu36tgX4dj+XZPpWwvG3YT2ZDqwmMGxoWvR3MhFznFfnmqXUZPZBp+fWkC2lpYJw/Ot9CYqdCNx6UrCxGAKXhKLI/JtU8=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Preppy-Smiley-Aesthetic-Clothes-Sweatshirt[fs]dp[fs]B0BNN9QMWQ[fs]ref=sr_1_126]]_Wed,-26-Apr-2023-06-46-54-GMT.pdf

   Hash (SHA256)
   399418baaeb1ce00e37d1c793f8763a9cff4212788b379e8fb1bcc5d1b5af610

   Signature (PKCS#1v1.5)
T8oAlEYaeXvVVYh33l4UQOrCuJ8oSS6TIq80ukKqJnREq2i3JsdIp+RBrpikfi6CSDJFGvsdA5ZZ+0+JeFtPFDOEXUeatSeI4rBkI4NZ+hqPzheBvCNzP4YDk7pmA4NyJMGdT+d4Scvlk0okyrIxcq8XxLLCu7qRzCGyzUh6EHI=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 34 of 44



                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 17:22:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AuE8kjGYxShmxWkzJielfqGyhsFYnvezIFRUdWv9F49PIPKIolzBywMMzMMOfwaWaMMwpTnzjDqZctMWdh24ZzuwBlusqW5nEnIFF86yrzl6MQ3fGmn9bHGzcAArZudEGM6MNMkDioSw+FYkFom43YTzuhRa8VgTSJHqYgugvBAoVzll6l6jMvl4qWur6Yvq7yDew1H2MGa2MSjx/
   UDyChNNnkpaAT4uFXS2V2lBCPaqx50QkPx5jgD9W2HFBMp5lUX5sNXi9Q93PPBlwjjsNOW/l9iSZq3zivV9ZblHTFaf2nOql++7nZOfRGEn72M+Cy/dsKvJZ08dRuMnADXn4A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-17-22-50-GMT.mhtml

   Hash (SHA256)
   e2bb7033ac808867311232f990e5ecbfcaad7dc731b2f3598670d6e4612aa85b

   Signature (PKCS#1v1.5)
YRVaSqko2iRHszEpEG5+wn1fkt2a/GAbAFhu2Kq7Iw1ZbcGx7Gt3H4NvlryUnjFTEHIXNxYiQv2Z0jQo88Bj/xIaibcHo05RqLBfeMovk36ruWERz/aLzd/j3MVw0zJNAanx/PhndepQqjOokcw2DpJf/u2rIi5kc+IilKm5cJIDWn7ur8ys91Ih4Q81MZiTRBboMKa6K5yazESPglmMFLXi06UbwHKo/W2ik1/
ug2yHr+NM6QtSt9qWB7D9jFbLpo1gye3KnvGGa4Hg1Li5NbM3mGmoJPUj9VLz3UH27pfM9TJSSpwIQm1caZGugETh8mqCq5YedfTxk6bee4NnRw==
                                                                                   Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 35 of 44



                                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: 16 Colors Smiley Face Stickers for Kids Rewards, 1000 pcs Star Stickers for Kids Reward, 2 Rolls Reward Stickers for Kids, Teacher Stickers for Students, Teacher Supplies for Classroom : Office Products

   URL
   https://www.amazon.com/Stickers-Rewards-Students-Supplies-Classroom/dp/B0B17NNSWV/ref=sr_1_55

   Collection Date
   Thu, 20 Apr 2023 08:01:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J3U/igP6XYJLs2XkfhcV3Toglr1OWyYjxUzmQrdKMQ6NpoAmqzB2/Cs3iVCdEKx9AxhUQx/30VdFnh9/fVP8WTssNumRAJcY1atrOmhLBkPsrWKP2EzsZGOp7PfkcA1MZwhUDAiLNCyUgk7wEJ+TAM3FCdKWFEyeV3hRqCb6ZKg=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Rewards-Students-Supplies-Classroom[fs]dp[fs]B0B17NNSWV[fs]ref=sr_1_55]]_Thu,-20-Apr-2023-08-01-43-GMT.pdf

   Hash (SHA256)
   940f36c1dac806c4f45fb553b4650a3318a223ddb9c52f37fece13a9975b74f5

   Signature (PKCS#1v1.5)
U9oWgslfQMXPUMYWWug9SByM4OEJxjVJHL9B8qWuhYijahM2aunrgUFX95Bxr2zbOF286C9IZBqdzhd8PkLuYa/i58IwEhrwwTCg17lW2s5cHf+PJyszUnc46bZDm8lPYm3uzmMQaNBfM7D9OYesc0NTpaAvKBVDP0FSZc4O6I8=
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 36 of 44



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 05:08:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D1rWY0Mq0fYcJBYVqZNFuqVBS9s8Y5Q9Vv+m4B3i6enBDXIwVBpXtcWPKxLvKE2fQDcu7ac962QLb0KShk9HrZsraC38ZgWgelGr4H/eujs0mfeDw983hJWJAil79t/WDHvB2opWrUNWLZfSNChJ4aMZIhqzdRNW10V2jr0EGxApZ/Mxuz2s9/X384GEciHSBgs24E/
   U0S43nCKL6qryJD24vQdsOukf56NlLagYHEFBubRc9XnLqMAwDwBKguZwdvwQn9BkOq60Sct8ZMA3CmnsuYJbU0GAQVOq4FB4jCAiEJhL1hWmb9baCNff/9j3pCoGNc/TNi5S0d/+IBHilg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-05-08-27-GMT.mhtml

   Hash (SHA256)
   a8623920ec870ca802d64c253e18d8747284915f951bb67a16f349ad0fb6a405

   Signature (PKCS#1v1.5)
dBMdcr/mGJM9/IRDMTtfeJLVUrvc+iIu/AbLXTjvSslixvWoe5AlljlDNz20v38QM7khv1oJenn036ZrA1SHrgsGQ3IB0n3IXW/NhzMzz/DOr3Ezd9H76r6XLN2V4wr0P47XG7HJTcHvDGSM28HpQoIlTFOYCpglDzATKwXEkKhfDesJ8gJ9dlQQfy6oj4qJytnOIZ427KWmc4mge++2YTRdZSTy2bY
+osRhVirt4cz47IOuPhd96xEaaHCqabZDalzGozZTikJWfsE0LV+rIskEVjNBv7xgbMjRSlv/C2CA2e8klT0lWUgVYcz9x15GqPwCnpnvx+Vce4eEOEQv+Q==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 37 of 44



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 10:14:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GzOO7WvuI1db8ukLD+/Ew7AuDzWzQqs2cQ9zR/wZFDXD9ogjOURPw+VtBCAiguTBd+bsSdStPJjcUsdG4+f1LSX3zpNA6CFnExLyHFeQbzuOd/CIiZERljxQNlG7K2gSa/N80oDruch7SVqrMeR/YP6HedStl6QCn/bkGEuMUb5/f2MPWy0Dk3S1v82lcHWTWDuEHSsga+kBdY5cZE9bJ
   +XSC47HoGczWTlNEl5CA0xLQwYvrBvBp+nHE1+3qxZ5YmiJcblOyN+ZBAFrFHlFpz+1KBlc8gc4AsPzcuQKqNw2wz9g+DjxDsKZsCs7avV5pkqL5L1HvFon3DYl36N01A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-10-14-33-GMT.mhtml

   Hash (SHA256)
   607d4db8ca01ee09d1407750be91ed1927b8836b7ec7962871650b2209ae931f

   Signature (PKCS#1v1.5)
VrxsOoZhZ4r8+cNthwvqE4dBdxRpbdtRkM4dz9i6y0t5SfTMjHgmw6G69Eem54MnoVXTZGv498HSrYKVVD7cHjyNE8Fjc8yjN+aMDprZHSJBQeFnu9NlxAAV5wsAE7b97t6m3+4DVKUWHgwO/
V77FQWKRg42fnqSh41Exwas96HlBPdXr8ZtcE3RRAbUaBCvqFYCiHbawAUHCsVA3sxBkCG531WIrHL9cP2OqXe3LVSjq9px/qE5vjEqOlAQRVtnq2E7AgkhvAlSYTND0gvUyTKi7WnyPhHNNNrJrGd7MbUtH7V2OV6KJ85m3MKUbuHKhwakPwJ7jAg44ZPfbmOhgg==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 38 of 44



                                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 300 PCS Mixed Smiley Face Beads - Colourful Smiling Face Acrylic Loose Spacer Beads Charms for Jewelry Making - Happy Face Spacer Beads for DIY Handmade Bracelet Necklace Craft Accessories : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B095J2L11V

   Collection Date
   Wed, 31 May 2023 09:59:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VSmDb9iMOpe2XKtPx+wyunh2aWPFaUpA9zOhIrci4g/SH454zQl9spoLd32+EFDVjLuQ6HIBeCPYznU2YTE/qNmFCWTxMkQZbqz/BlpbWfAFoL4kC2rz
   +D9KK8jFo9nXdbRlKSdIpwljUA7bqyBKKEvIThgNC6wypobIH4qJNF1kQXmXjNMseN5HDSvBCNDE59zquqoVaGW30OoSq7P0ulPCzkC8/brzXZCOHOOl3xUh/Wotl3tSylMP/PTW/4C1B0IfB8um1ExIkfcNN+dZAfITBLdRdX2DbAxskz15LCIUI9ipB
   +0qOcoSAXEYKUIOOQUAgO9dV9klRWK9yQ0i0Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B095J2L11V]]_Wed,-31-May-2023-09-59-18-GMT.mhtml

   Hash (SHA256)
   a2558e0e28bd429f9a8e7cb41adf9aa0775d4e7c2c5033dcf2ffdd73e444b854

   Signature (PKCS#1v1.5)
We20cvGfbN3HlL00Li97jgYqaHMMjxoxaR4FxctBW/DV3M9sm/nO5LImAig+sR6SK2ilYWP5e76WMAqZriVzfN0d0WboNXLV8Mtb4DQA4JAmSjAHUTJbC85BvmL4/e+FE5Rdv7oOaN+xYBqhScudCForaFFhMpOAVFnFwTq9d1Ci3dddB/
Zshe5fW1zcTDOj6HUrqsQaRU8BBu5tXIr99sMszwdZ3Krrwq1BRLyWsdf5Ts2/eyyknCIyTSAS9P26C152U2xWS9SAvvHo6KKuFnUejQs4wyvw21fa26uxNCGoTu4yOFbHouovYWRdbFHpVD50FoukbkIUv902Cuo2yg==
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 39 of 44



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 10:14:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GzOO7WvuI1db8ukLD+/Ew7AuDzWzQqs2cQ9zR/wZFDXD9ogjOURPw+VtBCAiguTBd+bsSdStPJjcUsdG4+f1LSX3zpNA6CFnExLyHFeQbzuOd/CIiZERljxQNlG7K2gSa/N80oDruch7SVqrMeR/YP6HedStl6QCn/bkGEuMUb5/f2MPWy0Dk3S1v82lcHWTWDuEHSsga+kBdY5cZE9bJ
   +XSC47HoGczWTlNEl5CA0xLQwYvrBvBp+nHE1+3qxZ5YmiJcblOyN+ZBAFrFHlFpz+1KBlc8gc4AsPzcuQKqNw2wz9g+DjxDsKZsCs7avV5pkqL5L1HvFon3DYl36N01A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-10-14-33-GMT.mhtml

   Hash (SHA256)
   607d4db8ca01ee09d1407750be91ed1927b8836b7ec7962871650b2209ae931f

   Signature (PKCS#1v1.5)
VrxsOoZhZ4r8+cNthwvqE4dBdxRpbdtRkM4dz9i6y0t5SfTMjHgmw6G69Eem54MnoVXTZGv498HSrYKVVD7cHjyNE8Fjc8yjN+aMDprZHSJBQeFnu9NlxAAV5wsAE7b97t6m3+4DVKUWHgwO/
V77FQWKRg42fnqSh41Exwas96HlBPdXr8ZtcE3RRAbUaBCvqFYCiHbawAUHCsVA3sxBkCG531WIrHL9cP2OqXe3LVSjq9px/qE5vjEqOlAQRVtnq2E7AgkhvAlSYTND0gvUyTKi7WnyPhHNNNrJrGd7MbUtH7V2OV6KJ85m3MKUbuHKhwakPwJ7jAg44ZPfbmOhgg==
                                                                               Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 40 of 44



                                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 300 PCS Mixed Smiley Face Beads - Colourful Smiling Face Acrylic Loose Spacer Beads Charms for Jewelry Making - Happy Face Spacer Beads for DIY Handmade Bracelet Necklace Craft Accessories : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B095J2L11V

   Collection Date
   Wed, 31 May 2023 09:59:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VSmDb9iMOpe2XKtPx+wyunh2aWPFaUpA9zOhIrci4g/SH454zQl9spoLd32+EFDVjLuQ6HIBeCPYznU2YTE/qNmFCWTxMkQZbqz/BlpbWfAFoL4kC2rz
   +D9KK8jFo9nXdbRlKSdIpwljUA7bqyBKKEvIThgNC6wypobIH4qJNF1kQXmXjNMseN5HDSvBCNDE59zquqoVaGW30OoSq7P0ulPCzkC8/brzXZCOHOOl3xUh/Wotl3tSylMP/PTW/4C1B0IfB8um1ExIkfcNN+dZAfITBLdRdX2DbAxskz15LCIUI9ipB
   +0qOcoSAXEYKUIOOQUAgO9dV9klRWK9yQ0i0Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B095J2L11V]]_Wed,-31-May-2023-09-59-18-GMT.mhtml

   Hash (SHA256)
   a2558e0e28bd429f9a8e7cb41adf9aa0775d4e7c2c5033dcf2ffdd73e444b854

   Signature (PKCS#1v1.5)
We20cvGfbN3HlL00Li97jgYqaHMMjxoxaR4FxctBW/DV3M9sm/nO5LImAig+sR6SK2ilYWP5e76WMAqZriVzfN0d0WboNXLV8Mtb4DQA4JAmSjAHUTJbC85BvmL4/e+FE5Rdv7oOaN+xYBqhScudCForaFFhMpOAVFnFwTq9d1Ci3dddB/
Zshe5fW1zcTDOj6HUrqsQaRU8BBu5tXIr99sMszwdZ3Krrwq1BRLyWsdf5Ts2/eyyknCIyTSAS9P26C152U2xWS9SAvvHo6KKuFnUejQs4wyvw21fa26uxNCGoTu4yOFbHouovYWRdbFHpVD50FoukbkIUv902Cuo2yg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 41 of 44



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: PMCDS2G Smile Face Stickers for Kids 1inch 500pcs Per Roll 4 Color Design Easy Carried Incentive Reward Sticker Supplies for Teachers and Mothers : Office Products

   URL
   https://www.amazon.com/PMCDS2G-Stickers-Incentive-Supplies-Teachers/dp/B092DXZJG7/ref=sr_1_75

   Collection Date
   Thu, 20 Apr 2023 08:07:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AnaOMcOpev0mVbkirgPfP2gCxFlsSQrStgfoOsl5ed0AQaTVyIVNWEuuau9cm+D3UKLsF6CCBv5Q6+knSIKtio4rYIyEsi/O4BsrwV4lJ8co2CIuRSno2gpWJYmxs6+IAOvM+ti2LE/8ktQqjdzvBXYHdgQdjG/VVbmd74f3H0Y=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]PMCDS2G-Stickers-Incentive-Supplies-Teachers[fs]dp[fs]B092DXZJG7[fs]ref=sr_1_75]]_Thu,-20-Apr-2023-08-07-00-GMT.pdf

   Hash (SHA256)
   6f54eccddbcf2d7a42613aa1cf4dc5e5d0dff149be60b50ee2c323397921a9ba

   Signature (PKCS#1v1.5)
D/9CWztlhrKgUkltG5opPDSyh14awLQdWkTwBky2wTz28gR5oLkdOeI4/1j61AF8ioHT4Ty5my/sfCaShxtPNqpQawwZcx6Xje3hinS2mE42wdIZSo2hpFBzwViyu0gp8GaU8zIlWfIGicI2Dp52x2ik3vd+nM4mnGxwlvDIymw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 42 of 44



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 05:58:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o258zyWOG2WDkJelcd6CyOXSqC+cZCcvRMBznqZ4doqPbvwMSQeaqLBX6ZLdwQIZBkMDy66jxfTE5Cb8snmVxmfPcA/cCkmehtbuXyMeayr2qk3y+LOOHsADE4QgvuoRqAG3IGIj56cYXCxI/
   aQ3lt16dvQCUFxEzG4vzDnSR64DGaYZDKE18vUUSB0yEQoswOQ8Jl0ycs5dKIktIocm2oZrWkZaX7JAQ+6lK2VZf0nEq5/+mUycrVHAtqcdM0iTL/Fy8R42Ggb6hsuwFXTtWTRpPxODqQexIm7SxusRxbf6V83rmgLnGOfCA9auSyroZSFbhOlaiUrFwqtguPMpSA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-05-58-39-GMT.mhtml

   Hash (SHA256)
   1459819215403567ce32a910f84cd78f7a1323fa82647b2eb757261351a5cab1

   Signature (PKCS#1v1.5)
lLj3ach+mYpiSz28YAXAC9oEOx0iigFRSLla0ZDyqJPr53X4o1k4IXZT23DQILH3u0DCD6iTxsy8UL2JvlXFHXyl4M619EUlWQsGpJf0GEh3PCPEWkPkTV13my5pq1dJnZoxofAzV1LOhPS50AhXpgAPNvpd/
xfYJfSPFvNCj0WySibvNO4IXHFd1zImbe6Q5D5OOQURIya3T5xjlMDGHYrGyG6t3Ppbeh2LJ7jZyf4vBI+oicCJP2BjPEH/NgMQZAUkHYhQqIXwprA0bHl59q3eWdQwBmHmt7Y7PFGkX7bUmj8JdAFDtgKlOGUggm5LY4Tg0pPSpm4B/n1nf9MLQw==
                                                                                  Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 43 of 44



                                                                                                                                                                                                                                    Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 100PCS Smiley Face Stickers Small Happy Face Stickers Roll, Teacher Motivational Stickers for Kids, Reward Stickers for School Classroom Students Children Incentives Awards (8 Styles, 1.5inch) : Office Products

   URL
   https://www.amazon.com/Stickers-Motivational-Classroom-Students-Incentives/dp/B0C2C8ZJ1T/ref=sr_1_42

   Collection Date
   Wed, 14 Jun 2023 09:01:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nAiEgOLP3tfBRbuIk90W7zSDz6J0UosR/AN/ktE6RuLVYEwG691QNHsaIxGZC3ayAqpyqO8rjFpAx00TPtVF5APWzYSqvXUks2oNfgXCOYLfHaN3H8IRtaHDhDYyLPowx8bRXCC5IRc+yCT2T2aW+dAnfD97u9w0NhkCciezyBc=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Motivational-Classroom-Students-Incentives[fs]dp[fs]B0C2C8ZJ1T[fs]ref=sr_1_42]]_Wed,-14-Jun-2023-09-01-02-GMT.pdf

   Hash (SHA256)
   789d626f758922a118597aab2918a62e7a21005cc96424849a18faf56d27daf3

   Signature (PKCS#1v1.5)
ImuGBjFdYxcO0zbdjYUVGQEGskfUS+BEljZY6stMQ49bCGLCnDCY73mFrgHbdntEoFMJyhS535/74fVEymv6KrlPllTiftr4OxBnlDpCtdj2NG2Wte1eYjjJ9dWtit9ZG1zKne5CHYkFyTCnip882bgTvqrvQtubvLndbIwEAe0=
                                                                                Case 0:23-cv-61203-AHS Document 36-6 Entered on FLSD Docket 07/27/2023 Page 44 of 44



                                                                                                                                                                                                               Investigator Name: Neha P




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   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 15:18:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DuPNX+9+VzFeZ7YBTmtJ+RhdIMu+IkqUf3NKDkhOazh99YcKkMHq6WIRkEPkDIKohTqL2CxaofDEZqry9+S84zH91nBOf6nn+eCybO2scKqYeQH9Y9zxfRc3eDNj09UojaXItMYfzyqdYwAHTzuYBPA7fs611OCFht3db6Wfr8YJhyOQ+zPz2waS
   +YwC1uN2qsmxt7JhbX4w8gQRrJMkrvebazm4sJJ3pcMWHCLJ3HdKg6x1vIge+t3H2wu/pQSAOcuv+H/7MTZTaS3oBZSNKLRD36kD4ZEL1fHJqTPSHDa71BR1xHE4+iNtjp1FhaE9T/AR0Ms48pIe2v2elNHhFA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-15-18-39-GMT.mhtml

   Hash (SHA256)
   d578945fb46a9e24df6f353ec4cfffc69c42a493276de83a4a1244ee12720589

   Signature (PKCS#1v1.5)
JMsFz6Mac2SEj3Sra2yrVVNcuPCsZZ89tJQ9pHjsBp/SpFZnad8rqNSbxoodNfs/cgKQUGbuUUYl9R9u6gdQDWuAuHYTyRS1elBlmcjJU2qAxndPkNIW3LtUnKfUXHS+88iEFRb3ufQAGHFIbL/vJl4bK6WZEPctAIKvSnb4M6Nf0Lft29ZAV5jo2uizMUGXdWV95URXME4XfdJUouKBMwy
+RKqhY6EZdrkAZIOdVGT4Kl+ctlRpdXh8B0Pljp4JOgAWU9vY0KfPe2JeNy6YF74P3AEfcoFXuSDXlHolvE2Im1UonXQ/1ERkyJiQp1KRax8m0ChKVSJ0KXe9UA9XTw==
